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                            EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


PSARA ENERGY, LTD.,                   §
                       Plaintiff,     §                             No. 4:15-CV-____________
                                      §
           v.                         §                             ADMIRALTY
                                      §
SPACE SHIPPPING, LTD; ADVANTAGE       §
ARROW SHIPPING, LLC; GENEL DENIZCILIK §
NAKLIYATI A.S. A/K/A GEDEN LINES;     §
ADVANTAGE TANKERS, LLC; ADVANTAGE §
HOLDINGS, LLC; and FORWARD HOLDINGS, §
LLC,                                  §
                                      §
                       Defendants.    §


                            ORIGINAL VERIFIED COMPLAINT

       Plaintiff PSARA ENERGY, LTD by and through undersigned counsel, for its Original

Verified Complaint against Defendants: SPACE SHIPPPING, LTD; ADVANTAGE ARROW

SHIPPING, LLC; GENEL DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN LINES;

ADVANTAGE TANKERS, LLC; ADVANTAGE HOLDINGS, LLC, and FORWARD

HOLDINGS, LLC alleges and pleads as follows:

                         I. JURISDICTION, VENUE AND PARTIES

       1.      This is an admiralty and maritime claim within the meaning of rule 9(h) of the

Federal Rules of Civil Procedure in that it involves claims for the breach of a maritime contract

i.e. an executed bareboat charter party for the employment of a seagoing cargo vessel. This case

also falls under this court's admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333, and

is brought under the provisions of Rule B of the Supplemental Rules For Certain Admiralty and

Maritime Claims, and the Federal Arbitration Act, 9 U.S.C. §§ 4, 8 in aid of maritime arbitration.



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       2.     At all times material hereto Plaintiff, PSARA ENERGY, LTD (hereinafter

“PSARA” or “Plaintiff”), was a corporation organized under the laws of the Republic of the

Marshall Islands and the registered owner of the Motor Tanker CV STEALTH (hereinafter the

“CV STEALTH”), a crude oil tanker vessel registered in Malta.

       3.     At all times material hereto Defendant, SPACE SHIPPPING, LTD. (hereinafter

“SPACE”), was and is a foreign company organized under the laws of Malta and the bareboat

charterer of the CV STEALTH under a bareboat charter party contract dated February 23, 2010

(“the bareboat charter”). A copy of the bareboat charter is attached hereto as EXHIBIT 1.

       4.     At all times material hereto Defendant, ADVANTAGE ARROW SHIPPING,

LLC (hereinafter “ARROW SHIPPING”) was, and is a corporate entity organized under the laws

of the Republic of the Marshall Islands, and the registered owner of Motor Tanker

ADVANTAGE ARROW, a tanker vessel registered in the Marshall Islands, with IMO No.

9419448 and international call sign V7K27.

       5.     At all times material hereto Defendant GENEL DENIZCILIK NAKLIYATI A.S.

A/K/A GEDEN LINES (hereinafter “GEDEN”) was and is a foreign corporate entity organized

under the laws of Turkey and the Operator, ISM Manager, and Manager of the CV STEALTH,

under the bareboat charter (see EXHIBIT 1, at box 4); see also attached copies of the GEDEN

webpage hereto attached as EXHIBIT 2.

       6.     At all times material hereto ADVANTAGE TANKERS, LLC (hereinafter

"ADVANTAGE TANKERS") was a foreign limited liability company organized under the laws

of a country other than the United States, and as a holding company owns 100% of defendant

ARROW SHIPPING.




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       7.      At all times material hereto ADVANTAGE HOLDINGS, LLC (hereinafter

"ADVANTAGE HOLDINGS") was a foreign limited liability company organized under the

laws of a country other than the United States, and as a holding company owns 100% of

defendant ADVANTAGE TANKERS.

       8.      At all times material hereto FORWARD HOLDINGS, LLC (hereinafter

"FORWARD HOLDINGS") was a foreign limited liability company organized under the laws of

a country other than the United States, and as a holding company owns 100% of defendant

ADVANTAGE HOLDINGS.

       9.      The jurisdiction of this Honorable Court is founded on the presence within the

District of property of the Defendants that may be attached by process of maritime attachment

and garnishment under the provisions of Rule B of the Supplemental Rules for Certain Admiralty

and Maritime Claims, as pled more fully in Section V of this Original Verified Complaint.

                              II. THE SUBSTANTIVE CLAIMS

       10.     Under the bareboat charter party dated February         23, 2010 (“the bareboat

charter”) and addenda thereto dated June 2, 2010; June 21, 2010; and January 29 2010 Plaintiff

chartered its vessel CV STEALTH for a “a term of 5 years straight period +/- 30 days in

Charterer's option plus 1 or 2 years optional year(s) declaration by Charterers 5 months prior end

of the firm period” to "Geden Holdings Limited, Malta or nominee always guaranteed by Geden

Line.” See EXHIBIT 1, box 21, 4. The vessel was delivered to the service of the nominee of

Geden Holding Ltd. i.e. SPACE and to GEDEN LINE and was used and operated for profit by

them as part of GEDEN’s managed non-owned fleet. See copies of relevant pages from the

website of GEDEN LINE advertising the CV STEALTH hereto attached as EXHIBIT 2.




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       11.      Plaintiff delivered the vessel into the bareboat chartered service and rendered,

and continues to render the contractual performance required of it.           However, Defendants

SPACE and GEDEN, (hereinafter collectively referred to as “Charterers”), though possessing

and using the CV STEALTH , are failing and refusing to perform their hire payment obligations

under the bareboat charter party contract and are in default and indebted to Plaintiff for various

sums, which are due and owing, as set out below.

       12.     Charterers have failed and are refusing to pay bareboat charter hire at the agreed

rates for the period of May 1 through May 31, 2015 in the total amount of USD $336,482.00

which has been duly invoiced and otherwise demanded of them. Under the terms of the bareboat

charter, hire is payable monthly in advance.    Charterers have also failed to pay hire for the June

1 through June 30 period in the total amount of USD $336,240.78 which has been duly invoiced

and otherwise demanded of them. (see copies of the May and June 2015 hire invoices hereto

attached as EXHIBIT 3),

       13.     Currently, the total outstanding amount of charter hire remaining unpaid for the

months of May and June 2015 5 is $ 672,722.78. Charterers are, accordingly, in default of their

obligation to pay charter hire in the total amount of USD $672,722.78.

       14.     The Charterers continue to posses the CV STEALTH but are unjustly failing and

refusing to pay Plaintiff the amounts they owe under the bareboat charter, even though they have

realized earnings by having employed her under charters to third parties.

                       III. UNDERLYING PROCEEDINGS ON THE MERITS

       15.     Box 35 and clause 30(a) of the bareboat charter party (EXHIBIT 1) provide for

arbitration of all disputes arising out of the contract in London. Plaintiff intends to claim the full

outstanding amount in London arbitration.



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       16.     Plaintiff estimates the legal costs that will be incurred to pursue these claims in

London maritime arbitration proceedings will be approximately USD $200,000.               As it is

customary in London arbitration, legal costs, including lawyers’ fees are awarded to the

prevailing party.

       17.     This action is an ancillary proceeding, brought in order to obtain jurisdiction over

Defendant Charterers and to obtain security for Plaintiff’s claims in the London proceedings.



                           IV. DEFENDANTS’ CORPORATE IDENTITY

       18.     Notwithstanding their formal separate incorporation, the Defendants are in actual

fact a single business enterprise pursuing functionally differentiated business objectives through

nominally separate business structures but always subject to the command and control of

Defendant GEDEN which is the parent company of Defendants SPACE, ARROW SHIPPING,

ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and FORWARD HOLDINGS, as is

more specifically pled hereunder.

       19.     When Plaintiff entered in the bareboat charter party with Defendant SPACE

guaranteed by its parent GEDEN, and, subsequently, throughout the years of performance,

GEDEN represented itself as the owner and operator for profit of a fleet of tanker and dry cargo

vessels and also the operator for profit of non-owned chartered-in ships. See e.g. EXHIBIT 2;

see also representations made at p. 40, of a true and correct copy of an initial public offering

prospectus dated June 19, 2012 attached hereto as EXHIBIT 4 and hereinafter referred to as "the

GEDEN Prospectus."

       20.     Under the GEDEN Prospectus, it was represented that the shares of the single-

ship-companies that owned GEDEN’s fleet of tankers were owned by a Maltese holding



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company, Geden Holdings, Ltd. The fleet of vessels owned by GEDEN included, among others,

the Motor Tanker TARGET, (Id., EXHIBIT 41 at pp. 77, 84, 86; 87). (See also pp. 16 and 17 in

copy of a restructuring proposal prepared in 2013 for Defendant Genel Denizcilik Nakliyati A.S.

by Alix Partners relating to changing the ownership structure of Genel Denizcilik Nakliyati A.S

in 2013 attached hereto as EXHIBIT 5. This document was filed in the record of the case Icon

Amazing, LLC v. Amazing Shipping, LTD. et al in the Southern District of Texas as ECF Doc.

33-6 in Civil Action 13 cv. 01449. The M/T TARGET was registered in the name of a single

ship owning corporate entity - Target Shipping, Ltd. (EXHIBIT 4 at p. 84), which was entirely

owned by GEDEN. Id., at p. 29.

         21.      Ultimately, the M/T TARGET and all other vessels of the GEDEN fleet of tankers

and dry cargo vessels were controlled by Defendant GEDEN, (EXHIBIT 4 at pp.77-78;

EXHIBIT 5 at p. 2) which in turn was controlled by Cukurova Group, a leading Turkish

conglomerate ultimately and beneficially owned by members of the Karamehmet family. See

EXHIBIT 4 at pp. 76-77.

         22.      GEDEN publicly held out the vessels it owned through one-ship-companies,

including the M/T TARGET as its own assets. See EXHIBIT 2; EXHIBIT 4 at p. 29, and

EXHIBIT 5, generally. Even though each vessel in the fleet of GEDEN, which had not been

chartered-in or leased-in from a third party, was registered in the name of an individual one-ship-

company;2 GEDEN, beneficially owned and operated these vessels as assets of a single business

enterprise. The purported corporate independence of the respective “SPV” vessel owners was

simply fictitious, as they were entirely subjugated to GEDEN’s business goals and policies,


1  The entire prospectus is approximately 230 pages. For this Original Verified Complaint, Plaintiff has included
the introductory pages of the prospectus and relevant excerpts referred to herein. Plaintiff will provide the complete
prospectus should this Honorable Court request a copy of same.
2
  Referred to by the said defendant as an “SPV” i.e. a “special purpose vehicle.” See EXHIBIT 4 pp. 29, 170

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which were implemented by GEDEN management and staff.

       23.     In this process, the GEDEN SPV’s were mere limbs and organs of a larger

corporate organism as evidenced by the common business strategy GEDEN had pursued in order

to cope with the current shipping market crisis, and the - unsuccessful - attempt to spin off an

initial public offering in which the assets of the “subsidiaries” were identified as assets of the

GEDEN group. See EXHIBIT 4 at p. 40.

       24.     According to the information publicly disclosed by GEDEN, TARGET

SHIPPING, LTD. which owned the M/T TARGET was entirely owned by GEDEN.                        See

EXHIBIT 2 at p 10 and generally.

       25.      Throughout the portion of the bareboat charter term that has been already

performed, SPACE, remained as spelled out in the charter a “nominee” (See EXHIBIT 1, box

4) performing a merely nominal role with all of Plaintiff’s business under the charter actually

being transacted with GEDEN, for and on behalf of GEDEN and SPACE.

       26.     Defendants GEDEN and SPACE (as well as Geden Holdings Ltd.) have had

common officers, common directors, and common parent companies, and common beneficial

owners as follows: Mr. M. Bülent Ergin, was director of GEDEN, Geden Holdings Ltd., and

Çukurova Holding A.S; Mr. A. Tugrul Tokhöz was on the board of directors of GEDEN, Geden

Holdings Ltd., and Çukurova Holding A.S; Mr. Mehmet Mat was the chief financial officer of

GEDEN and Geden Holdings Ltd. (See EXHIBIT 4 at pp. 100-101).                  The ownership of

GEDEN; Geden Holdings Ltd.; and Cukurova Holding AS was entirely in the hands of the

Karamehmet family in Turkey. Id., EXHIBIT 4 at pp. 5, 76-77; 151.

       27.     According to the shipping database EQUASIS, under the history of the M/T

TARGET, though her listed ownership was in Defendant Target Shipping, Ltd., GEDEN



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always held and continues to hold the International Safety Management Code Document of

Compliance for M/T TARGET (See: copy of EQUASIS database record hereto attached as

EXHIBIT 6; copy of the vessel’s record of ISM certification hereto attached as EXHBIT 7);

and also holds the certificate of financial responsibility (COFR) for the same vessel. (See Record

of Certificate of Financial Responsibility issued by the U.S. Coast Guard hereto attached as

EXHIBIT 8).

       28.      Beginning in March 2013 hire payments to Plaintiff and to other vessel owners

who had similar bareboat chartering arrangements became at intervals erratic and often late.

       29.      By making diligent enquiries in the shipping market and closely following the

performance of the Geden Group, Plaintiff learned that GEDEN was contemplating and

considering in consultation with its financing banks to radically change the corporate ownership

structure of its shipping business in a manner likely to involve wholesale repudiation of charter

parties and shifting of its assets under new corporate ownership that would severely compromise

its ability to honor its obligations under its performance guarantee and similarly the ability of its

wholly owned subsidiaries’, including the ability of SPACE, to render their performance.

       30.      More specifically the record in a civil action previously filed in the United States

District Court for the Southern District of Texas disclosed a document authored by business

Consultants of Geden (EXHIBIT 5) which outlined a restructuring plan which among other

things would:

       A.       Expropriate Geden of its shipping assets (vessels) from its subsidiaries that owned

       them “into appropriate newcos” (new corporate entities) for the purpose of making the

       assets unreachable by creditors to        whom Geden and respective subsidiaries had

       undertaken important obligations, a process that Geden and its consultants have



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         characterized as "Ring-fence potential sources of disruption, holdouts, or nuisance (such

         as arrests or sister-ship arrests)". EXHIBIT 5 at p 7;

         B.       Establish the successor corporate entities (“newcos”) of Geden with such a

         shareholding structure as to minimize the risk of the assets being arrested by unpaid

         creditors. EXHIBIT 5 at p. 40;

         C.       Relegate creditors who have extended non-financing credit to the Geden group of

         companies to a “Group D” status outside the “privileged” creditors of the “newco”

         groups. Such creditors included Plaintiff and other owners within the Stealth group who

         have bareboat chartered vessels to the Geden Group. EXHIBIT 5 at p. 7.

         31.      With the improvement of the tanker market in early 2015, Defendant GEDEN,

with the cooperation of its financing banks, set out to implement its plan of changing the

ownership structure of their business by taking the following specific actions.

         32.      Defendant GEDEN caused the SPV’s which controlled nine (9) of its largest and

most profitable tankers to sell them to a new set of one- ship-companies (“newco’s”), as it had

planned and contemplated to do under its re-structuring scheme noted in the foregoing, and as

detailed in EXHIBIT 4 and EXHIBIT 5, and had these vessels re-named and reflagged – from

the Maltese to the Marshall Islands flag. Thus the ownership/flag/name of the ships was changed

as follows:

FORMER NAME: PROFIT
NEW NAME: ADVANTAGE SOLAR
FORMER OWNER: PROFIT SHIPPING LTD
NEW OWNER: ADVANTAGE SOLAR SHIPPING LLC
-----------------------------------------------------------------------
FORMER NAME: TARGET
NEW NAME: ADVANTAGE ARROW
FORMER OWNER: TARGET SHIPPING LTD.
NEW OWNER: ADVANTAGE ARROW SHIPPING LLC
---------------------------------------------------------------------------

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FORMER NAME: TRUE
NEW NAME: ADVANTAGE AVENUE
FORMER OWNER: TRUE SHIPPING LTD.
NEW OWNER: ADVANTAGE AVENUE SHIPPING LLC
-----------------------------------------------------------------------------
FORMER NAME: BLUE
NEW NAME: ADVANTAGE SKY
FORMER OWNER: BLUE SHIPPING LTD.
NEW OWNER: ADVANTAGE SKY SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: PINK
NEW NAME: ADVANTAGE SUMMER
FORMER OWNER: PINK SHIPPING LTD.
NEW OWNER: ADVANTAGE SUMMER SHIPPING LLC
----------------------------------------------------------------------------

FORMER NAME: BLANK
NEW NAME: ADVANTAGE START
FORMER OWNER: BLANK SHIPPING LTD.
NEW OWNER: ADVANTAGE START SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: REEF
NEW NAME: ADVANTAGE SPRING
FORMER OWNER: REEF SHIPPING LTD
NEW OWNER: ADVANTAGE SPRING SHIPPING LLC
--------------------------------------------------------------------------
FORMER NAME: BRAVO
NEW NAME: ADVANTAGE ATOM
FORMER OWNER: BRAVO SHIPPING LTD.
NEW OWNER: ADVANTAGE ATOM SHIPPING LLC
---------------------------------------------------------------------------
FORMER NAME: POWER
NEW NAME: ADVANTAGE ANTHEM
FORMER OWNER: BARBAROS MARITIME LTD.
NEW OWNER: ADVANTAGE ANTHEM SHIPPING LLC
-----------------------------------------------------------------------------

         33.      At the same time Defendant GEDEN transferred the legal and equitable title to

the ownership of the said vessels from Geden Holdings, Ltd. to another new holding company

i.e. Defendant ADVANTAGE TANKERS.

         34.      ADVANTAGE TANKERS is 100% owned by another holding company i.e.

Defendant ADVANTAGE HOLDINGS, which in turn is 100% owned by Defendant

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FORWARD HOLDINGS.

          35.      FORWARD HOLDINGS is 85% owned by Mrs. Gulsun Nazil Karamehmet ,

Williams and 15% by Mr. Ali Tugrul Toghoz. Mrs. Karamehmet Williams is the daughter of the

principal owner of the business group Mr. Mehmet Emin Karamehmet.

          36.      Attached hereto and marked as EXHIBIT 9 is a diagrammatic representation of

the ownership / control structure of the GEDEN-owned SPV’s following the change of holding

companies - as noted in the foregoing - captioned “SCHEDULE II – Organizational Chart”

which is extracted from the Marshall Islands Vessel Register record of a Mortgage dated April 2,

2015 “in respect of the vessel M.V. “ADVANTAGE ARROW” ex “TARGET”, and a “Loan

Facility Agreement relating to the financing of MV “TRUE” (tbr “ADVANTAGE AVENUE”

and MV “TARGET” (tbr “ADVANTAGE ARROW”). 3

          37.      In restructuring the corporate ownership of its most valuable assets, siphoning

them out to other nominee companies, and “ring-fencing” them with various layers of corporate

shells, for the express purpose of making them inaccessible as a source of recourse to creditors to

whom GEDEN and its wholly owned subsidiaries are indebted, GEDEN and its co-defendants

actively abused the corporate form for the express wrongful purpose of defeating legitimate

claims of creditors whose assets GEDEN and its co-defendants have used, and are continuing to

use to enrich themselves.

          38.      The M/T ADVANTAGE ARROW is one of the assets which is beneficially

owned by Defendant GEDEN, and the said Defendants has tried to “ring-fence” out unpaid

creditors, including Plaintiff by means of transferring her legal ownership, and changing her

registration in order to prevent said creditors from attaching her as a source of security. But,

notwithstanding appearances, ownership and control over the said vessel remains with the same

3   For the sake of brevity extracts from this record will be referred to as “Mortgage Record Extract”.

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beneficial owners, as and when she was named TARGET and was registered in Malta.

        39.     Consistent with the Geden Group intention to deflect creditors perceived as

“...holdouts, or nuisance” GEDEN has defaulted on its hire payment obligations to at least two

(2) more owners, of the same business group as Plaintiff, in an amount of approximately USD

$1,000,000.

        40.     By reason of the relationship of complete dominion and control that Defendant

GEDEN has exercised over its subsidiaries ARROW SHIPPING and SPACE, taking into

consideration the foregoing facts and circumstances, it would be just, equitable and proper for

the Court to exercise its equitable powers to pierce the corporate veil of ARROW SHIPPING as

an alter ego of GEDEN, SPACE, ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and

FORWARD HOLDINGS so that the vessel M/T ADVANTAGE ARROW may be attached with

process of maritime attachment and garnishment as a source of security for Plaintiff’s May and

June 2015 unpaid hire installment.

                        V. APPLICATION FOR ATTACHMENT UNDER
                           SUPPLEMENTAL ADMIRALTY RULE B

        41.     None of the Defendants are present or can be found in the District within the

meaning of Rule B of the Supplemental Rules for Certain Admiralty and Maritime Law Claims.

See Attorney Declaration of George Gaitas attached hereto as EXHIBIT 10. Nevertheless,

Defendants have within the District tangible or intangible personal property in the hands of

parties who may be named garnishees in the process of maritime attachment and garnishment

consisting of debts, credits, or effects.

        42.     More particularly the M/T ADVANTAGE ARROW, a tanker vessel with IMO

No. 9419448 and international call sign V7K27, owned by Defendants, is or will soon be within

the Southern District of Texas and is expected to berth therein.

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        43.     Defendant GEDEN, used and is continuing to use its purported corporate

separateness, and the purported separate incorporation of its surrogate subsidiaries SPACE,

ARROW         SHIPPING,    ADVANTAGE          TANKERS,       ADVANTAGE          HOLDINGS,     and

FORWARD HOLDINGS abusively, to wit: to engage in fraudulent corporate restructuring and

asset reallocation practices to avoid paying agreed and accrued hire, for the M/T CV STEALTH

and to repudiate with impunity their obligations under the bareboat charter party.

        44.     Defendant GEDEN has contracted with Plaintiff, and is using its completely

dominated surrogate shell entities SPACE, ARROW SHIPPING, ADVANTAGE TANKERS,

ADVANTAGE HOLDINGS, and FORWARD HOLDINGS as alter egos, intending to reap all

the benefits but pay none of the costs. Defendants are accordingly, using the corporate form

abusively, i.e. to perpetrate fraud and commit other injustice. It would be, accordingly, fair and

equitable to pierce (or reversely pierce) the corporate veil of GEDEN, SPACE, ARROW

SHIPPING, ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and FORWARD

HOLDINGS in order to reach the economic value of the M/T ADVANTAGE ARROW which

said Defendants have compartmentalized in separate corporate pockets, to the detriment of

Plaintiff.

        45.     Alternatively, Defendants having operated, at all relevant times, as a single

enterprise, and being the alter ego of each other in the circumstances set in the above and

foregoing Original Verified Complaint, it would be fair and equitable for any asset of this

enterprise to be subject to the claims of judgment creditors of the enterprise, such as Plaintiff,

and for any such assets to be attached as security for Plaintiff’s maritime claims.

        46.     Plaintiff has maritime claims against the Defendants arising out of maritime

contract (i.e. – the bareboat charter party with GEDEN and SPACE dated May 27, 2010 and the



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performance guarantee of GEDEN of the same date).

         47.   The amount of Plaintiff’s claim as reasonably as it can be estimated is as follows:

               A. Charter Hire due and owing ….…………………………$                           672,722.78

               B. Interest at 6% compounded quarterly for 1 year………...$               40,281.00

               C. Recoverable Legal Fees and Costs………………………$                         200,000.00


               Total Claim…………………………………………………$                                       913,003.78

         48.   Therefore, Plaintiff’s total claim for breach of the maritime contracts against

Defendants is in the aggregate sum of USD 913,003.78.

         WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

         A.    That process in due form of law, according to the practice of this Honorable Court

in matters of admiralty and maritime jurisdiction be issued against Defendants and said

Defendants be cited to appear and answer the allegations of this Original Verified Complaint;

         B.    That since the Defendants cannot be found within this District pursuant to

Supplemental Rule B, all of the assets of the Defendants presently within this District, or assets

expected in this District during the pendency of this action, including, but not limited to, the M/T

ADVANTAGE ARROW and/or any assets within the possession, custody or control of any other

garnishee upon whom a copy of the Process of Maritime Attachment and Garnishment issued in

this action may be served, be attached and garnished in an amount sufficient to answer Plaintiff’s

claim;

         C.    That this Court retain jurisdiction over this matter through the entry of any

judgment or award associated with any of the claims currently pending, or which may be

initiated in the future, including any appeals thereof;

         D.    That judgment be entered against each of the Defendants in the sum of Nine

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Hundred and Thirteen Thousand and Three Dollars and Seventy-Eight Cents (USD $

913,003.78), together with interest and costs, and the proceeds of the assets attached be applied

in satisfaction thereof;

          E.    That the Court grant such other and further relief as it deems, just, equitable and

proper.



                                                      Respectfully submitted,


Date: June 12, 2015                                   CHALOS & CO, P.C.
      Houston, TX

                                              By:     /s/ George A. Gaitas_______
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